        Case: 1:18-cv-05327 Document #: 1 Filed: 08/03/18 Page 1 of 10 PageID #:1
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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                                           R EC H [V             ED
                                 EASTERN DIVISION                                                         2018
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Tssg*LLA.       Nr.ure.*                                                                               G. BHUTON
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                 Plaintiff(s),
                                                                      1:18-cY{15327
                           vs.                                        Judge Sharon Johnson Golerran
 Fuo."rcAs(J\*! \                                                     HagistraE Judge Sidney l. Schenkier
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     Henr"        frc+0i\u   \   \
  ZD?.D\ Sorlr\ Cr;a*t$rrd            [va


                 Defendant(s).




             CSMPI,ATNT FOR VIOLATION OF CONSTTTUTTONAL RTGHTS

This form complaint is designed to help          loil,   as a   pro   se   plaintffi
                                                                    state your cflse in a clear
mfinner, Please read the directions and the numbered paragraphs carefully. Some paragraphs
mfry not apply to yott. You muy cross out paragraphs that do not flpply to yon. All references
to uplaintiff' and udefendant" nre stated in the singular but will npply to more than one
plaintiff or defendant if that is the nature of the         cuse.

l.       This is a claim for violation of plaintiff s civil rights as protected by the Constitution and

         laws of the United States under 42 U.S.C. $$ 1983, 1985, and 1986.

2.       The court has jurisdiction under 28 U.S.C. $$ 1343 and 1367                   .




3.       Plaintiffs tull   name      i, atnnf,     ,o At,tLY Nle-ffiJ
If there are additional plaintiffs, fill in the above information as to the first-named plaintiff
and complete the information for each additional plaintiff on nn extru sheet.
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4.     Defendant,                        \\rA
                       Ffl+l.tc-r1r*r-r (narne,            r-T$                                                           , is
                                                           badge number     if known)

       E    an officer or   official employed by
                                                                   (department or agency of government)
                                                                                                                           or

     H--1r individual ryI       employed by a govemmental entity.

Ifthere ure additional defendants, fill in the ubove information as to the tirst-numed
defendant and complete the information for each additional defendant on fln extra sheet.

5.     The municipality, township or county under whose authority defendant officer or official

       acted   is f *'.1.-      C.*.:r-.:-(11   ue I u, r.rctb                             .   As to plaintiff s federal

       constitutional claims, the municipality, township or county is a defendant only                        if
       custom or policy allegations are made at paragraph 7 below.
                                                                                                                    \
6.     On or about     ftl.t l ao\V                , at    approximately           tcr.   DD             n   a.m.   M O.*.
                          (month,day, year)
       plaintiff was present in the municipality (or unincorporated area) of

                                                                  , in the County        of (-[>gf--                         ,
                                                                                                                    teot-t l, I
       State of Illinois, at
                                      (identifo location   as   precisely as possible)


       when defendant violated plaintiffs civil rights as follows (Place X in each boxthat
       applies):

       il        arrested or seized   plaintiff without probable cause to believe that plaintiff had
                committed, was committing or was about to commit a crime;
       tr       searched plaintiff or his property without a warrant and without reasonable cause;
       u        used excessive force upon plaintiff;
       tr       failed to intervene to protect plaintiff from violation of plaintiff s civil rights by
                one or more other defendants;
     H..
     tr
                failed to provide plaintiff with needed medical care;
                conspired together to violate one or more of plaintiff s civil rights;
      H-        Other:
                                                                                                                                  orL
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        Defendant officer or offrcial acted pursuant to a custom or policy of defendant

        municipality, county or township, which custom or policy is the followin g: (Leave blank

        if no custom     or   policy is ulleged):    3€A      O   n3"-:or \o +r \ (a




        Plaintiff was charged with one or more crimes, specifically:

                   fit:ne-




        (Place an X in the box that applies. If none applies, you mny describe the criminal
        proceedings under "Other') The criminal proceedings

        tr   are   still pending.

        tr   were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.r

        n    Plaintiff was found guilty of one or ffiore charges because defendant deprived me of            a

        fair trial as follows




     -P4ther:
        lExamples
                    of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary distrissal (SOL) by the prosecutor, or a nolle prosequi order.
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       10.     Plaintiff further alleges as follows: (Describe what happened that you believe
        supports yoar claims. To the extent possible, be specific as to your own actions und
       the actions of each defendant.)




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11.    Defendant acted knowingly, intentionally,     willfully and maliciously.

12.    As a result of defendant's conduct, plaintiff was injured as follows:



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13.    Plaintiff asks that the case be tried by a jury.               trNo
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 t4.    Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such

        as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

        an#or any other claim that may be supported by the allegations of this complaint.



        WHEREFORE, plaintiff asks for the following reliet

        A.      Damages to compensate for all bodily harrn, ernotional harm, pain and suffering,

                loss of income, loss of enjoyment of life, property damage and any other injuries

                inflicted by defendant;

        B. $ fa* ce X in box tf you ure seeking punitive               dumages.) Punitive damages

                against the individual defendant; and

        C.      Such injunctive, declaratory, or other relief as may be appropriate, including

 uuo*'**H,:---"                       .r;i:lru *,:
                                  "

        Plaintiff s name (print clearly or type):
                                                                     ::      I*
        Plaintiff s mailing address:

        City g+rC "-f".*--,           N2+(,"NIS   State \L                         zIP   looq I     I
                                             t725
        Plaintiff s relephone number: 13lL ;      -313'{
        Plaintiff   s   email address (if you prefer to be contacted by email):




15.    Plaintiff has previously filed     a case   in this district. E Yes
                                                                             H*"
       If yes, please     list the cnses below.


Any additional plaintffi must sign the complaint and provide the sume iffirmation as the first
plaintffi An additional signature pnge mily be added
         Case: 1:18-cv-05327 Document #: 1 Filed: 08/03/18 Page 6 of 10 PageID #:6
              United States District Court for the Northern District of lllinois: Eastern Division
Attachment for extended response to item 10 on filing for Nartey vs. Franciscan Health
Plaintiff: lsabella M. Nartey - Phone:372.725.3534 - Email: ourmillicent@gmail.com

The violations of the federal statutes detailed below caused Millicent Nartey to suffer
reduced consciousness and speech abilities; congestive heart failure; paralysis (due to lack of
oxygen to the brain); and death per the 8/16/te brain death test at Franciscan Health.

    1.    EMTAIA VIOLATION by Franciscan Health ICU onSlalLG pertheirfailure to complete             a
          thorough assessment of Millicent Nartey's emergency medical condition.
          Millicent Nartey was brought to Franciscan Health for her reported weakness on the
          right side of her body. Mom's symptoms in ER were severe enough to warrant a stroke
          alert in the ER and have the ER team note to complete a MRI after admission as part of
          her initial assessment if her symptoms persisted.
          Yet, on 8/41L6, Franciscan Health's ICU team failed to comply with EMTALA & their own
          ER team's instructions because they completed a second CT scan instead of the required
          MRI which would have produced detailed pictures of the organ, soft tissues, bone and
          other internal body structures in Millicent's head and, therefore, led to a more accurate
          diagnosis of Millicent's emergency medical condition.
          Mlllicent and the family was told that the Sl4/ L6 CT scan was "inconclusive" and that
          she was being kept in Franciscan Health's Intensive Care Unit to address the original
          emergency medical condition of "hypertensive emergency" & "altered mental state."

    2.    Violation Federal Statute re: Discharge Planning & Condition of Participation (42 CFR
          482.43) On 8/a/16, Millicent stated in front of her daughters and a nurse that she didn't
          feel she was getting any better so she wanted to leave the hospital to either go home or
          find care elsewhere. Franciscan Health ICU team stated that it was "unlawful" for the
          hospital to release Millicent before her condition was stable. Mom sobbed in despair
          and her daughters did our best to console her.
          Despite mom's obvious distress and the verbal requests of Millicent, her
          husband/power of attorney, and her present family members, not one Franciscan
          Health staff member - not the nurse on duty, the resident doctors, the attending
          physician, nor Millicent's case manager - returned to the room complete their legally-
          required healthcare duties. Franciscan Health:
          (i) Failed on S/a/L6 to advise the family of Millicent's right to request to discharge
                  against medical advice & present a written release of responsibility the results of
                  said discharge along with options for continuing care outside the hospital.
          (ii) Failed on 814/L6 to discuss or present their written discharee planning policies
                  and procedures and a specific discharge plan for Millicent Nartey as a person
                  with stubborn hvpertension and high cholesterol. Both the initial and any revised
                  discharge plans were to include a written list of post-hospital extended care
                  service options, local home health agencies and/or skilled nursing facilities.
                  (Nothing received or discussed.)
          (iii) Failed an 8lal].6 to discuss or present Franciscan Health's written hospital
                  transfer policy detailing the difference in procedure for a patient-initiated
                  transfer vs. a hospital-initiated transfer.

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              United States District Court for the Northern District of lllinois: Eastern Division
Attachment for extended response to item 10 on filing for Nartey vs. Franciscan Health
Plaintiff: lsabella M. Nartey - Phone:3L7.725.3534 - Email: ourmillicent@gmail.com

         (iv)    Failed on 8/5/16 to present their written discharge planning policies and
                 procedures and a specific discharge plan for Millicent Nartey as a survivor of
                 ischemic stroke. Both the initial and any revised discharge plans were to include
                 a written list of post-hospital extended care service options, Iocal home health
                 agencies and/or skilled nursing facilities. (Nothing received or discussed.)
         (v)     Failed to transfer or refer patient (Millicent Nartey) to the most appropriate
                 facility for follow-up and ancillary care, both when stroke was suspected and
                 once it was diagnosed. (Note: In this case, a primary stroke center or an
                 advanced primary stroke center with rehabilitation services on site would have
                 heen most appropriate, but such options were never discussed.)


    3.   EMTATA VIOLATION by Franciscan Health ICU per their failure to secure adequate
         medical care for Millicent Nartey's Blslti emergency medical condition of ischemic
         stroke. Since Franciscan Health was not designated as a primary stroke center at the
         time of Millicent's visit, once her emergency medical condition was recognized as an
         ischemic stroke Franciscan Health was under legal obligation to comply with both the
         federally mandated EMTALA & IL statute regarding stroke patients by initiating
         Millicent's transfer to a primary stroke center. There were several primary stroke
         centers and once advanced primary stroke center within 17-90 minutes (driving
         distance) of Franciscan Health.

The hospital transfer would have allowed Millicent Nartey to receive life-saving care at a facility
with the resources and surgical expertise to stabilize mom's condition & prevent further
damage from her ischemic stroke via carotid endarterectomy or any one of the surgeries
documented to successfully prevent/address ischemic stroke in patients with 70 to 99 percent
blockage in the carotid artery.

    4. Violation of 18 U.S. Code 1035. (False statements    relating to health care matters.)
         When the MRI was finally ordered on8/5/L6, it revealed an ischemic stroke. Millicent
         and her family were not informed that her "altered mental state" was actually a stroke
         until the morning of 8/6/L6. (Note: Millicent had been reportedly overdosed on
         anesthesia on BlslLG & had not yet regained consciousness on 816/16 so the MRI
         results were only given to her family.)

The Franciscan Health neurologist on duty misinformed the family that the location of
Millicent's plaque buildup dictated that the best course of care was to "wait and see" if
Millicent would "pull through" and finally respond to the hospita!'s protocol for hypertensive
emergency.

Again the family inquired about a hospital transfer and we were told that Millicent was getting
the same quality care at Franciscan Health that she would've gotten anywhere else so it was
"best" to "keep her comfortable" and avoid the inconviences of a hospita! transfer.


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              United States District Court for the Northern District of lllinois: Eastern Division
Attachment for extended response to item 10 on filing for Nartey vs. Franciscan Health
Plaintiff: Isabella M. Nartey - Phon e:312.725.3534 - Email: ourmillicent@gmail.com

The family now knows that the information delivered by several memhers of the 816116
Franciscan Health team was both false and misleading because in addition to the federal
statute requiring hospital transfers for emergency conditions, lllinois also has a statue
mandating the transfer of stroke patients to primary stroke centers due to the documented
decrease in mortality rates and increase in post-stroke quality of life for stroke patients treated
at these centers. As a registered acute stroke response hospital, all Franciscan Health staff can
be expected to be knowledgeable of both the hospital's protocol and the state and federal
statutes that impact their ability to delivery care.

    5.   Franciscan Health ICU's Violation of EMTATA requirement for admitting hospitals to
         transfer any patients who have an emergency medical condition they are unable to
         stabilize after admission.

Even though Millicent Nartey was misdiagnosed with "hypertensive emergency" instead of
"hypertension & stroke risk due to severe coronary heart disease," the tests ordered by the
ICU team revealed Millicent's additional health complications and provided insight as to why
Franciscan Health's "hypertensive emergency" protocol had been unable to stabilize mom and
bring her into recovery.

As previouslymentioned, when MRI wasfinallyordered on 8/5/L6,        it revealed an ischemic
stroke. Not only were Millicent and her family were not informed that her "altered mental
state" was actually a stroke until the morning af 8l6lL6, the neurologist on duty informed the
family that they had no care options beyond Franciscan Health. Resident doctors and the nurse
team on duty offered none of the legally required options when the family inquired further.

Franciscan Health's ICU team failed to comply with EMTALA both on8/41L6 - when they failed
to initiate hospital transfer once the hospital's ICU was unable to reduce Millicent Nartey's
blood pressure & stroke risk with the drugs/care plan available - and on 8/5/16, when the
ischemic stroke was revealed via Franciscan Health's MRl.

It was clear that Millicent Nartey was still at high risk for stroke on 8/41L6, Franciscan Health
was legally obligated to transfer her to a primary stroke center which would have had the
drugs, surgical teaffi, & neurological/ cardiovascular expertise on hand to both stabilize her
blood pressure & prevent/address stroke. They failed to comply with EM.

    6.   EMTATA VIOLATION by Franciscan Health re: failed transfer request
Errors in Millicent Nartey's initial diagnosis and subsequent misdiagnosis (ex: "hypertensive
emergency" vs. "ischemic stroke" may have influenced the receiving hospitals to view the
SlLZlL6 (& subsequent) patient-initiated transfer requests submitted by Franciscan Health as
inconsequential / not life-threatening.

However, the receiving hospital always has the option to file a complaint against the admitting
hospital if their own assessments reveal that the transfer was unnecessary or inappropriate.

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              United States District Court for the Northern District of lllinois: Eastern Division
Attachment for extended response to item L0 on filing for Nartey vs. Franciscan Health
Plaintiff: lsabella M. Nartey - Phone 3L2.725.3534 - Email: ourmillicent@gmail.com



While Franciscan Health Medical Records note that Millicent Nartey's transfer request was
denied by more than one location "based on insurance reasons," per EMTALA, it is the duty of
the admitting hospitalto ensure a successfultransferfor a patient- regardless of the patient's
method of payment or ability to pay - if that patient in need of advanced or Iife-saving care.

Franciscan Health ICU violated this portion of EMTALA both by not reminding the receiving
hospital(s) of (1-) their duty to accept Millicent since their facility provided the advanced care
Millicent urgently needed and (2) their right to contest the appropriateness of the transfer once
Millicent had been accepted and stabilized. Franciscan Health documented their own violation
of this portion of EMTALA in Millicent Nartey's official medical records.

    7.   EMTAIA VIOLATION against both Franciscan Health and receiving hospitals per
         unlawful denial of transfer. Per this federal statute, it is unlawful to deny a transfer
         request based on the patient's ability to pay, based on the patient's method of
         payment, and based on the suspicion that the patient does not need to be transferred
         to receive appropriate care for reported conditions.

         The receiving hospitals were in violation of EMTALA denying Millicent Nartey "for
         insurance reasons." Franciscan Health was in violation of EMTALA in allowing the
         receiving hospitals to refuse transfer based on Millicent Nartey's method of payment
         and perceived ability to pay.

    8. EMTALA VIOLATION        of transfer standards by Franciscan Health ICU
         Even though Franciscan Health was at Ieast 8 days "late" in presenting the option for
         Millicent Nartey's hospital transfer, when they finally did offer it, they violated EMTALA
         standards again by requiring the family to identify the appropriate hospital for Millicent
         Nartey to be transferred to in order to receive advanced care. The family identified top
         Chicago hospitals - University of Chicago, Loyola, and Stroger Hospital - but did not
         know to specifically seek out primary stroke centers and advanced primary stroke
         centers.

         Per EMTALA, it is the responsibility of the admitting hospital       - not the patient or her
         family - to identify the best facility for advanced care, especially in cases when the
         patient is experiencing or at high risk for experiencing rapid or significant "clinica!
         deterorition as Franciscan Health stated in Millicent Nartey's official medical records.
         Franciscan Health was legally obligated to both identify the best hospitals to receive
         Millicent and to ensure the hospita! transfer was completed once it had been initiated.

    9.   EMTATA Violation by Franciscan Health Radiolosy department for failing        to request
         hospital transfer to primary stroke center. Upon reviewing the results of Millicent
         Nartey's imaging tests (which revealed her ischemic stroke and her "moderate to severe
         occlusion" in her Ieft carotid artery) they failed to recognize/treat Millicent Nartey's

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Plaintiff: lsabella M. Nartey - Phone:312.725.3534 - Email: ourmillicent@gmail.com

        condition as life-threatening and further failed to initiate transfer to a higher level care
        facility that could perforrn the carotid endarterectomy or any one of the surgeries
        documented to successfully prevent/address ischemic stroke in patients with 70 to gg
        percent blockage in the carotid artery.

    10. EMTATA Violation against Franciscan Health Cardioloey department because upon
        reviewing the results of Millicent Nartey's tests which revealed elevated troponin &
        creatinine levels along with the plaque huild-up in her enlarged heart, they failed to
        recognize/re-diagnose Millicent Nartey's "hypertensive emergency" as life-threatening
        congestive heart failure due to "severe near Occlusive Coronary Artery Disease w/ near
        Occlusive Atherosclerosis of Left Anterior Descending Coronary Artery near the
        Bifurcation." (Note: Millicent Nartey's final diagnosis was only obtained via the autopsy.)

        Even though Franciscan Health Cardiology documented several heart health concerns in
        her official medical record, they:
            (i) never communicated the severity of Millicent's condition to her or her family
                     and
            (ii) violated EMTALA by failing to initiate transfer to a higher level care facility that
                     could perform any one of the surgeries documented to successfully manage
                     advanced heart disease thereby avoiding stroke and prolonging life by an
                     average of 10+ years.

    11. EMTALA Violation by Franciscan Health Neurologv department for improper initial
        assessment during the first 24-hours. Franciscan's Neurology team failed to properly
        assess Millicent Nartey's condition with an MRI (as their own ER team instructed) when
        all previous assessment tests indicated but could not confirm stroke. Neurology also had
        access to Millicent's charts/records which showed that her "stroke level blood pressure"
        was unresponsive to the hospital's hypertensive emergency plan.

    12. EMTAIA Violation by Franciscan Health Neurolosv department for failing to initiate &
        complete transfer to an (advanced) primary stroke center with life-saving surgical
        capabilities once an MRI confirmed that Millicent Nartey had in fact had an ischemic
        stroke due to the blockages revealed by imaging tests.

    13. Violation of Title vl of the civil Rights Act of 1964 - Patients right to translator. English
        is Millicent Nartey's third language even though she's an American citizen. Her family
        informed the Franciscan Health ICU team of her need to have English spoken slowly and
        of our availability to translate if she seemed to have trouble comprehending. By
        withholding information and providing erroneous or partial information, Franciscan
        Health denied the family an opportunity to hoth communicate Millicent's condition and
        care options in her preferred Ianguage and to have Millicent be an informed participant
        in her care plan and options. This violated Millicent Nartey's civil right as per Title Vl.


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